     Case 1:22-cr-00015-APM      Document 880     Filed 07/31/24   Page 1 of 2




                     UNITED STATES DISTRICT COURT
                         DISTRICT OF COLUMBIA



United States of America,
                                            Case No. 1:22-cr-00015-APM
            Plaintiff,

      v.

Kenneth Harrelson,

            Defendant.



                            NOTICE OF APPEARANCE

      NOTICE is hereby given that Assistant Federal Public Defender, JoNell

Thomas, will serve as counsel for the above captioned defendant.

      Counsel’s address is as follows:

            Federal Public Defender
            411 E. Bonneville Ave. Suite 250
            Las Vegas, NV 8910

      Dated this 31st day of July, 2024.
                                            Respectfully submitted,

                                            Rene L. Valladares
                                            Federal Public Defender

                                            /s/ JoNell Thomas
                                            JoNell Thomas
                                            Assistant Federal Public Defender
      Case 1:22-cr-00015-APM      Document 880       Filed 07/31/24   Page 2 of 2




                        Certificate of Electronic Service

      I hereby certify on the 31st day of July, 2024 a copy of same was

electronically filed using the CM/ECF system and thus delivered to the parties of

record and in pursuant to the rules of the Clerk of Court.


                                              /s/ Jeremy Kip
                                              Employee of the Federal Public
                                              Defender




                                          2
